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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                 Case Number: 9-18-cv-80257-RLR

  MABELLE MEYAART
  a/k/a MAI MEYAART,

         Plaintiff,

  v.

  TRAVEL LEADERS GROUP, LLC,
  d/b/a and s/k/a TRAVEL LEADERS GROUP,
  NINAN CHACKO and JOHN LOVELL

        Defendants.
  ______________________________________/

                          NOTICE OF SELECTION OF MEDIATOR

         Plaintiff, Mabelle Meyaart, by and through undersigned counsel, and pursuant to this

  Court’s Scheduling Order and Order Referring Case to Mediation [DE 32], hereby files this Notice

  of Selection of Mediator informing the Court that the parties have selected Robyn S. Hankins,

  Esq., The Law Offices of Robyn S. Hankins, 4600 Military Trail, Suite 217, Jupiter, Florida 33458,

  as the mediator in this action. The mediation will take place on Tuesday, June 26, 2018, from 9:00

  a.m. to 6:00 p.m., at the offices of Broad and Cassel LLP, located at One North Clematis Street,

  Suite 500, West Palm Beach, Florida 33401.




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                                    CERTIFICATE OF SERVICE

         WE DO HEREBY CERTIFY that on May 23, 2018, a true and correct copy of the

  foregoing was filed using the Court’s CM/ECF System, which will send a notice of electronic

  filing to the all counsel of record identified on the service list below.

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